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Attorneys for PNC BANK, NATIONAL ASSOCIATION

IN THE MATTER OF:                                            IN THE UNITED STATES
                                                             BANKRUPTCY COURT FOR THE
                                                             DISTRICT OF NEW JERSEY
Linda CiarelliRichard R. Ciarelli
                                                                         CHAPTER 13
       DEBTOR(S),                                                    CASE NO. 22-13306 CMG

                                                                   NOTICE OF OBJECTION

        I, Denise Carlon, the undersigned, Esquire For KML Law Group, P.C., attorney for Secured Creditor
PNC BANK, NATIONAL ASSOCIATION, the holder of a Mortgage on the debtors' premises at 20
Buckingham Drive Ocean, NJ 07712 hereby objects to the confirmation of the debtors' proposed Chapter l3
Plan for the following reasons:

        1.       The claims bar date is July 5, 2022. Secured Creditor intends to file a claim on or before
the bar date with the total debt estimated at $154,970.27.
        2.       Debtor's plan provides for payment in the amount of $0.00 towards the arrearage claim of
the Secured Creditor.
        3.       The Debtor's proposed plan calls for the sale or refinance of the aforesaid premises,
which sale provision does not satisfy the feasibility requirements of 11 U.S.C. 1325 (a) (6). The sale or
refinance of the property is remote and speculative and therefore the plan is not feasible.
        4.       Debtor’s Plan understates the amount of the Secured Creditor’s claim by $154,970.27,
and does not provide sufficient funding to pay said claim.
        5.       Accordingly, Debtor's plan is NOT feasible, as it does not fully compensate the Secured
Creditor.
        6.       In addition, the debtor’s plan fails to comply with 11 U.S.C. 1322 and 11 U.S.C. 1325.



        In the event the debtors cure the aforesaid payments due outside the Chapter 13 Plan prior to the
Confirmation Hearing, the undersigned will not appear at the Confirmation Hearing and aforesaid objections
should be deemed waived.
                                                  /s/Denise Carlon, Esquire
                                                  Denise Carlon, Esquire
                                                  Attorney for PNC BANK, NATIONAL ASSOCIATION
Dated: June 14, 2022
